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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

FOREST RIVER FARMS, individually and on
behalf of all others similarly situated,

       Plaintiff,
                                                    Case No. 1:22-cv-00188
       v.
                                                    Hon. Martha M. Pacold
DEERE & CO. (d/b/a JOHN DEERE),

       Defendant.




    DEFENDANT DEERE & CO.’S RULE 7.1 AND LOCAL RULE 3.2 STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1 and Northern District of Illinois Local

Rule 3.2, Defendant Deere & Co. (“Deere”), by and through its attorneys, states as follows.

       Deere is a publicly-traded corporation. It has no parent corporation. To the best of

Deere’s knowledge, and as of Deere’s 2022 Proxy Statement dated January 7, 2022, no single

shareholder holds more than 10% of its stock. As of January 7, 2022, Cascade Investment,

L.L.C., The Vanguard Group, Inc., and BlackRock, Inc. each owns more than 5% of Deere’s

common stock. To the best of Deere’s knowledge, the sole member of Cascade Investment,

L.L.C., is William H. Gates III.
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Dated: February 3, 2022

                                         Respectfully submitted,

                                         /s/ Amanda B. Maslar

                                         Amanda B. Maslar (6321073)
                                         amaslar@jonesday.com
                                         JONES DAY
                                         77 West Wacker, Suite 3500
                                         Chicago, IL 60601.1692
                                         Telephone: (312) 782-3939
                                         Facsimile: (312) 782-8585

                                         John M. Majoras*
                                         jmmajoras@jonesday.com
                                         JONES DAY
                                         51 Louisiana Avenue, N.W.
                                         Washington, DC 20001
                                         Telephone: (202) 879-3939

                                         Tiffany Lipscomb-Jackson*
                                         tdlipscombjackson@jonesday.com
                                         JONES DAY
                                         325 John H. McConnell Boulevard,
                                         Suite 600
                                         Columbus, OH 43215-2673
                                         Telephone: (614) 281-3876

                                         Corey A. Lee*
                                         calee@jonesday.com
                                         JONES DAY
                                         North Point
                                         901 Lakeside Avenue
                                         Cleveland, Ohio 44114
                                         Telephone: (216) 586-3939

                                         *Pro Hac Vice Application Forthcoming

                                         Counsel for Defendant Deere & Co.




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                              CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed using the CM/ECF system, which
will effectuate service on all counsel of record.


                                              /s/ Amanda B. Maslar




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